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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 RICHARD MOLINARI,
                                                      18-cv-01526
    Plaintiff, on behalf of himself and a
 class of similarly situated individuals,
                                                      Honorable Judge Sara L. Ellis
 v.

 FINANCIAL ASSET MANAGEMENT
 SYSTEMS, INC.,

      Defendant.

      PLAINTIFF’S MOTION FOR LEAVE TO FILE MEMORANDUM OF SUPPORT
                         INSTANTER, NUC PRO TUN

        NOW COMES Plaintiff RICHARD MOLINARI, by and through his attorney, James

C. Vlahakis and moves this Honorable Court for leave to file his Memorandum of Law in Support

of His Motion to Certify, instanter, nunc pro tunc, and in support states:

        1. Due to competing deadlines, Plaintiff seeks one additional day to submit his

           Memorandum of Law in Support.

        2. Further, Plaintiff is required to submit certain documents under seal as

           required by a protective order and confidential designations made by

           Defendant.

        3. No harm or prejudice will come from granting a one day extension.


                                                 /s/ James C. Vlahakis
                                                 James C. Vlahakis
                                                 2500 S. Highland Avenue, Suite 200
                                                 Lombard, IL 60148
                                                 Phone No.: 630-581-5456
                                                 Fax No.: 630-575-8188
                                                 jvlahakis@sulaimanlaw.com

                                                 Attorney for Plaintiff Richard Molinari and the
                                                 proposed class members
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                             CERTIFICATE OF SERVICE


      I, James C. Vlahakis, certify that on October 8, 2019, I caused to be filed the

above referenced document via the district’s ECF system, which shall serve a file

stamped copy of this document on all counsel of record.




/s/ James C. Vlahakis
